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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO.: 24-CV-80853-MIDDLEBROOKS

  SAUN-JAY S. MCINTOSH,

         Plaintiff,

  vs.

  TRANS UNION, LLC, EXPERIAN
  INFORMATION SOLUTIONS, INC., &
  EQUIFAX INFORMATION SERVICES, LLC. &
  CAVANAGH FAMILY BUSINESS, INC. fka
  PETRIS PEST CONTROL SERVICES, INC. &
  VOSS & KLEIN, LLC,

         Defendants.

  __________________________________________/

                            ORDER TERMINATING DEFENDANT

         THIS CAUSE comes before the Court on Plaintiff’s Notice of Voluntary Dismissal of

  Defendant Trans Union, LLC, filed August 2, 2024. (DE 14). Pursuant to Rule 41(a) of the Federal

  Rules of Civil Procedure, a plaintiff may voluntarily dismiss an action by filing a notice of

  dismissal before the opposing party serves either an answer or a motion for summary judgment.

  See Fed. R. Civ. P. 41(a)(1)(A)(i). Defendant Trans Union, LLC, has served neither.

         Accordingly, it is ORDERED AND ADJUDGED:

         1) Plaintiff’s claims against Defendant Trans Union are DISMISSED WITH

             PREJUDICE.

         2) The Clerk of Court shall TERMINATE the above Defendant as a Party in this matter.
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        3) This Order Terminating Defendant does not impact the claims against the other

           Defendants in this matter.

        SIGNED in Chambers in West Palm Beach, Florida, this 5th day of August, 2024.



                                          _________________________________________
                                          DONALD M. MIDDLEBROOKS
  cc:   Counsel of Record                 UNITED STATES DISTRICT JUDGE




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